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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 19-cv-2381-LTB-MEH

   WALTER CHARNOFF

                        Plaintiff,

                 v.

   NANCY LOVING, d/b/a ARTSUITE NY,
   ARTPORT LLC,
   STUDIO 41, LLC,
   ALICIA ST. PIERRE,
   MARTIN ST. PIERRE,
   ISP HOLDINGS, INC., and
   DAVID HINKELMAN

                        Defendants.


    DEFENDANTS NANCY LOVING, d/b/a ARTSUITE NY, ARTPORT LLC, STUDIO 41,
        LLC AND DAVID HINKELMAN’S MOTION FOR SUMMARY JUDGMENT


                                        INTRODUCTION

          Plaintiff Charnoff’s ever shifting and inconsistent theory of his case reveals the

   frivolous nature of his claims. First, he claimed Defendants failed to deliver the art he

   purchased — despite requesting that Defendants not ship the art. After Defendants were

   sued and the art was shipped, he refused to accept the art and then claimed it was

   damaged while Defendants stored it at his request — despite that he has not seen the art

   and he does not have an expert to opine it is damaged. Finally, he claims the art he

   purchased at $186,000, has zero value yet, at the same time, claims he is owed $446,000

   for the value of the art —despite that he testified that an entity, not he, individually owns
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   the art. Fatal to his claims, Charnoff identifies no evidence that the art he purchased has

   declined in value, other than his own feeling the art is valueless to him. As set forth below,

   Charnoff cannot state a claim as a matter of law and his complaint must be dismissed as

   a matter of law.

                        STATEMENT OF UNDISPUTED MATERIAL FACTS

           1.      This lawsuit arises out of $186,000 Walter Charnoff alleges he paid

   defendant ArtPort LLC for art created by artist Harold Garde. Second Amended Complaint

   (“SAC”) [DOC 64] ¶¶ 1, 66.

           2.      ArtPort LLC is an entity through which defendant Ms. Loving sells Harold

   Garde art and which she is a member. Ex. 1 (Loving Decl.) ¶ 2. Ms. Loving sold art at her

   gallery titled ArtSuite NY.

           3.      Walter Charnoff saw and selected art he wished to purchase while he was

   in New York or Connecticut, in Ms. Loving’s presence, in her gallery, home and storage

   facility. Id. ¶ 3.

           4.      Mr. Charnoff alleges he made two purchases, the First Purchase, totaling

   $45,120 and the Second Purchase, totaling $141,000. SAC ¶¶ 35, 66.

           5.      On August 3, 2016, payment for the First Purchase was made by wire by

   from an entity known as Wolliz Investment Properties (“Wolliz”). Ex.2 (LOVING 697).

           6.      Walter Charnoff and his wife Brande Charnoff are each 50% owners of

   Wolliz. See In re: Walter Charnoff, Case No. 17-21-594, Disclosure Statement Plan for

   Reorganization, attached hereto as Ex. 3, p. 10.

           7.      The First Purchase included four artworks. See SAC ¶ 43.


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          8.     On August 5, 2017, Ms. Loving emailed Mr. Charnoff to “make sure I am

   clear on the terms of our agreement” and “create an agreement that we are both

   comfortable with.” Ex. 4 (PLAINTIFFS 389-91) at 390.

          9.     Mr. Charnoff responded to the terms proposed by Ms. Loving and stated he

   would “deal with framing and conservation once [the art] arrives in Colorado” that he

   would select and pay the “direct cost for the storage unit” and that he would “insure the

   work while it’s being stored.” Id. at 389-90.

          10.    Ms. Loving agreed and added that Mr. Charnoff would “be responsible for

   the packaging” or crating. Id. at 389.

          11.    On August 11, 2017 Ms. Loving provided her “written agreement that I

   believe covers all of our considerations” wherein she listed when the deposit and three

   invoices would be due and agreed that ArtPort would ship the art to Colorado upon

   completion of the sale as determined by the final payment on invoice 3, due December

   15. Ex. 5 (LOVING 68).

          12.    Five days later, Mr. Charnoff cut several pieces of art from the Second

   Purchase, reducing the sale price from $214,000 to $141,000, because he did not get a

   mortgage on his $3.1mm property and needed to close cash. Ex. 6 (LOVING 28-29) at

   28.

          13.    The fourth and final payment for the art was made on November 16, 2017.

   Ex. 7 (Charnoff Dep.) 170:16-25.

          14.    The next month, Walter Charnoff filed Chapter 11 bankruptcy. In re: Walter

   Charnoff, Case No. 17-21-594.


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          15.     On January 10, 2018, Mr. Charnoff disclosed, under penalty of perjury, his

   assets and liabilities, including that he individually owned assets in art totaling $250. In

   re: Walter Charnoff, Case No. 17-21-594, Schedule A/B: Property, attached hereto as Ex.

   8, at pg. 4; Id., Declaration About an Individual Debtor’s Schedules, attached hereto as

   Exhibit 9.

          16.     On July 18, 2016, July 24, 2016, July 29, 2016, August 30, 2017, February

   12, 2018, Ms. Loving contacted Mr. Charnoff in writing regarding the shipment of the art

   whereas the first time Mr. Charnoff asked for his art to be shipped was April 5, 2018. Ex.

   10 (PLAINTIFFS 170), Ex. 11 (PLAINTIFFS 407), Ex. 12 (PLAINTIFFS 167), Ex. 13

   (PLAINTIFFS 131), Ex. 14 (LOVING 36), Ex. 15 (PLAINTIFF 266), Ex. 16 (LOVING 40),

   Ex. 17 (PLAINTIFFS 267).

          17.    On June 26, 2018, with respect to shipment of the art, Ms. Loving suggested

   that they “come up with a more complete plan” stating that it “would be best for all of us

   to get on the same page and for you to be really comfortable with our course of action.”

   Ex. 18 (PLAINTIFFS 268).

          18.    Mr. Charnoff responded: “Let’s just leave [the art] in storage until we figure

   it out when I return.” Id.

          19.    Mr. Charnoff’s next written communication regarding the art was nine

   months later, on April 16, 2019. Ex. 19 (PLAINTIFFS 269).

          20.    On May 2, 2019, Ms. Loving asked Mr. Charnoff for a list of the artwork that

   he wanted shipped and stated that she could not get an estimate or confirm any dates for

   shipping until she had the exact list with sizes and weight. Ex. 20 (PLAINTIFFS 270).


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          21.    Mr. Charnoff responded that he “would not have waited to have the art

   shipped” if he were informed that he was expected to pay for storage and insurance as

   he had more economical options in Colorado. Ex. 21 (LOVING 44).

          22.    Until May 6, 2019, all written communications reflected Mr. Charnoff’s

   agreement to pay for storage, insurance and crating. See e.g., Undisputed Facts 8-11.

          23.    On May 7, 2019 he stated that the “reason I had you hold the art was you

   telling me I needed to pay crating while I was in Chapter 11.” Ex. 22 (LOVING 59).

          24.    On June 20, 2019, Mr. Charnoff initiated this lawsuit, bringing claims of

   breach of contract, SAC ¶¶ 87-91, unjust enrichment, id. ¶¶ 76-82, fraudulent

   misrepresentation, id. ¶¶ 83-87; civil theft, id. ¶¶ 86-90, conversion, id. ¶¶ 91-95; vicarious

   liability under respondeat superior, id. ¶¶ 91-94, joint venture liability, id. ¶¶ 95-99,

   vicarious liability under actual and implied authority, id. ¶¶ 100-105; vicarious liability

   under apparent authority, id. ¶¶ 106-109, civil conspiracy, id. ¶¶ 110-113, intentional

   interference with contractual relations, id. ¶¶ 114-119. The essence of Mr. Charnoff’s

   claims were that the Defendants refused to ship the art he purchased. See SAC,

   generally.

          25.    In his bankruptcy, however, Mr. Charnoff represented on May 7, 2018 that

   Wolliz Investment Group, Inc. owned $446,000 in art and he individually owned only $250

   in art. Ex. 3 at 10 (Wollz owning $446,000 in art) vs. p. 8-9 (debtors assets in “art objects

   & collectibles” totaling $250.).

          26.    Mr. Charnoff testified that Nancy Loving helped him value the “after-

   purchase value” of the art he individually purchased from ArtPort LLC at $446,000 and


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   that the valuation was for specific use in his bankruptcy case. Ex. 7 (Charnoff Dep.)

   223:10-225:8; see Ex. 28 (LOVING 724-25).

          27.    Mr. Charnoff testified that it was important to be truthful and have an

   accurate value for the art and that what he included on his Schedule A/B for property was

   done under penalty of perjury. Ex. 7 (Charnoff Dep.) 225:6- 227:8 (testifying the value of

   “my art” was $446,000, that the value was arrived at after he purchased the art).

          28.    In this litigation, however, Mr. Charnoff individually claims ownership of art

   he purchased from ArtPort LLC and individually seeks damages totaling “at least

   $440,000.” SAC at p.23.


                                      LEGAL STANDARD

          Summary judgment is appropriate “if the pleadings, depositions, answers to

   interrogatories, and admissions on file, together with affidavits, if any, show that there is

   no genuine issue as to any material fact and that the moving party is entitled to a judgment

   as a matter of law.” Blue Circle Cement, Inc. v. Bd. of Cty. Comm'rs, 27 F.3d 1499, 1503

   (10th Cir. 1994) (citing Fed. R. Civ. P. 56(c)). To satisfy its burden, the moving party “may

   demonstrate that there is no evidence in the record to support the nonmoving party’s

   case.” Mehaffy, Rider, Windholz & Wilson v. Cent. Bank Denver, N.A., 892 P.2d 230, 235

   (Colo. 1995), as modified on clarification (Feb. 21, 1995) (citation omitted). In seeking to

   establish a genuine issue of material fact and avoid summary judgment, the non-moving

   party “may not rest upon the mere allegations … of the pleadings” and must present “more

   than a mere scintilla of evidence.” Hom v. Squire, 81 F.3d 969, 973-74 (10th Cir. 1996).

                                          ARGUMENT

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     I.   Charnoff’s Claims Must Be Dismissed Because He Is Judicially Estopped
          From Bringing This Lawsuit.

          Plaintiff should be judicially estopped from asserting claims related to the art he

   purchased from Defendants because he previously disclaimed ownership of the art to the

   bankruptcy court. The equitable doctrine of judicial estoppel prevents a party from taking

   a position in a legal proceeding that is contradictory to a position he successfully relied

   upon in a previous proceeding. New Hampshire v. Maine, 532 U.S. 742, 749 (2001). The

   doctrine is aimed at protecting the integrity of the judicial process by “prohibiting parties

   from deliberately changing positions according to the exigencies of the moment.” Id. at

   750 (internal quotation marks omitted). A party should not be allowed to “gain an

   advantage by litigation on one theory, and then seek an inconsistent advantage by

   pursuing an incompatible theory.” C. Wright, A. Miller, & E. Cooper, Federal Practice and

   Procedure § 4477, p. 782 (1981)) (internal quotations omitted).

          Judicial estoppel is “a discretionary remedy courts may invoke to prevent improper

   use of judicial machinery.” Johnson v. Lindon City Corp., 405 F.3d 1065, 1069 (10th Cir.

   2005) (internal quotation marks omitted) (quoting New Hampshire, 532 U.S. at 750).

   Three factors inform the application of the doctrine of judicial estoppel in a particular

   case. Eastman v. Union Pacific R. Co., 493 F.3d 1151, 1156 (10th Cir. 2007). First, the

   position taken by a party in the present case must be clearly inconsistent with the position

   of that party in a former case. Id. Second, the court should determine whether the party

   succeeded in persuading a court to accept the former and inconsistent position taken by

   the party so that judicial acceptance of an inconsistent position in a later proceeding would


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   create the perception that either the first or the second court was misled. Id. (internal

   quotation and citation omitted). Third, the court should inquire whether the party asserting

   an inconsistent position would gain an unfair advantage in the litigation if not estopped. Id.

          Here, all three factors are met. The position taken by Mr. Charnoff on Schedule

   A/B of his bankruptcy petition was that he owned only $250 in art/collectibles. Statement

   of Undisputed Material Facts (“Facts”) ¶ 15. 1 Mr. Charnoff affirmed, under penalty of

   perjury, that the assets and liabilities stated on his Schedules were true and correct. Id.

   In Mr. Charnoff’s Disclosure Statement to Accompany his Plan of Reorganization Dated

   May 7, 2018, Mr. Charnoff, again, disclosed only $250 in “Art Objects & Collectibles”.

   Facts ¶ 25. He further disclosed that Wolliz Investment Properties, LLC owned art and

   collectibles in the amount of $446,000. Id.; Ex. 3 at p. 10. Here, Mr. Charnoff seeks that

   same amount in damages related to art he (now) claims he individually purchased from

   Defendants. Facts ¶ 27-28. The two positions are clearly inconsistent. This Court has

   stated that “judicial estoppel is particularly appropriate where, as here, a party fails to

   disclose an asset to a bankruptcy court, but then pursues a claim in a separate tribunal

   based on that undisclosed asset.” Eastman, 493 F.3d at 1158 (internal quotation and

   citation omitted).

          As to the second factor, Mr. Charnoff without question succeeded in persuading

   the bankruptcy court to accept his former and inconsistent position. The bankruptcy court



   1 Defendants request that the Court take judicial notice of Charnoff’s bankruptcy filings.
   In re Winslow, 186 B.R. 716, 721 (D.Colo.1995) (citing St. Louis Temple, Inc. v. FDIC,
   605 F.2d 1169, 1172 (10th Cir.1979)) (court properly may take judicial notice of its own
   records and those of other courts).
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   approved a settlement and ultimate dismissal of Mr. Charnoff’s bankruptcy based on his

   disclosure of assets that did not include $446,000 in art. Instead, he testified that he

   owned only $250 in art, thereby depreciating his assets in comparison to his debts, to the

   detriment of his creditors.2

          Finally, Mr. Charnoff will gain an unfair advantage if not estopped. Unlike equitable

   estoppel, judicial estoppel does not require detrimental reliance by the party asserting

   estoppel. See Johnson v. Lindon City Corp., 405 F.3d 1065, 1069 (10th Cir. 2005) (judicial

   estoppel typically requires a showing “that a previous court has accepted the prior

   inconsistent factual position”). The doctrine protects the integrity of the judicial system,

   not the litigants. Hermann v. Hartford Casualty Insurance Company, No. 11-CV-03188-

   REB-MEH, 2016 WL 1170102, at *5 (D. Colo. Mar. 25, 2016), judgment entered, No. 11-

   CV-03188-REB-MEH, 2016 WL 1178592 (D. Colo. Mar. 25, 2016), and aff'd, 675 F. App'x

   856 (10th Cir. 2017). Here, Mr. Charnoff presented his Plan of Reorganization to the

   bankruptcy court and later requested that it approve a settlement and dismissal of his

   case based on a bankruptcy schedules and other filings that failed to disclose the

   existence of a valuable asset known to Mr. Charnoff, to the detriment of his creditors’

   interests. Indeed, Mr. Charnoff testified he knew it was important to be truthful, that the


   2 To be sure, Mr. Charnoff cannot return to the bankruptcy court and disclose his claim
   in an attempt to save him from judicial estoppel, here. In Eastman, the debtor returned
   to bankruptcy court to make a belated disclosure of an asset but it did not preclude the
   application of judicial estoppel because, to allow a debtor/plaintiff to “back up” and
   benefit from the reopening of his bankruptcy only after his omission had been exposed
   would suggest that a debtor should consider disclosing potential assets only if he is
   caught concealing them. The Eastman court found that “this so-called remedy would
   only diminish the necessary incentive to provide the bankruptcy court with a truthful
   disclosure of the debtor's assets.” Id. at 1160 (internal quotation and citation omitted).
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    $446,000 valuation was created for the use in his bankruptcy case, but he disclosed that

    he owned only $250 in art. Ex. 7, 223:10-227:4. Where, as here, the debtor has both

    knowledge of and motive to conceal the asset courts will infer deliberate manipulation.

    Eastman, 493 F.3d at 1157 (internal citations and further internal quotation marks

    omitted). Finally, Mr. Charnoff is further gaining an unfair advantage by claiming in the

    current lawsuit that he individually owns the art so that he can prevent his wife from

    testifying as a fact witness under the shield of the marital privilege, a shield that he admits

    would not allow him to prevent Mrs. Charnoff from testifying were the actual owner of the

    art, Wolliz Investment Group (of which Mrs. Charnoff is part-owner), the plaintiff in this

    lawsuit. See Motion for Protective Order (Doc. 147).

           Therefore, Mr. Charnoff must be estopped from suing Defendants with respect to

    art over which he disclaimed ownership under oath in bankruptcy.

     II.   Plaintiff Has Not Established Any Fraudulent Misrepresentations and
           Defendants Are Entitled To Judgment As a Matter of Law on His Third Claim.

           To establish his Third Claim for Relief for Fraudulent Misrepresentation, Mr.

    Charnoff must prove the following: 1) a representation; 2) of material fact; 3) that is false;

    4) Defendants made the representation with knowledge of the falsity or with indifference

    to its truth or falsity; 5) he relied on the representation; 6) had a right to rely on it; and 7)

    he acted in accordance with the reliance; and 8) in doing so, he suffered damage. Inst.

    for Prof'l Dev. v. Regis Coll., 536 F. Supp. 632, 633 (D. Colo. 1982) (citing Zimmerman v.

    Loose, 425 P.2d 803, 807 (Colo. 1967)). “‘[A] complete failure of proof concerning an

    essential element of the nonmoving party's case necessarily renders all other facts

    immaterial.’” See AT & T Corp. v. Gen. Steel Domestic Sales, LLC, No. Civ 04-CV-01334

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    EWN MEH, 2006 WL 894903, at *5 (D. Colo. Mar. 30, 2006) (citation omitted). As

    described below, Mr. Charnoff has not alleged any misrepresentations that sink to the

    level of actionable fraud. Instead, each representation is simply an (allegedly) unmet

    contractual promise or a future promise without a present intent not to perform. Mr.

    Charnoff’s claim independently fails because there was no justifiable reliance on the

    alleged misrepresentations or any damages.

              a. The Purported Misrepresentations Are Trumped Up Contractual
                 Promises and Do Not Rise to the Level of Fraud.

           “An alleged misrepresentation must be of a material fact that either exists in the

    present or has existed in the past.” Myers v. All. for Affordable Servs., 371 F. App'x 950,

    957 (10th Cir. 2010) (citing Bell Press, Inc. v. Phillips, 364 P.2d 398, 400 (Colo. 1961)).

    “‘[A] mere expression of an opinion in the nature of a prophecy as to the happening or

    non-happening of a future event is not actionable.” Id. (citing and quoting Bell Press, 364

    P.2d at 400) (statements by insurance agent that “everything was in order” and that the

    insurance policy “would be issued” were statements “mere expressions” of opinion and

    “could not support a claim of fraudulent misrepresentation”); Mehaffy, Rider, Windholz &

    Wilson v. Cent. Bank Denver, N.A., 892 P.2d 230, 237 (Colo. 1995), as modified on

    clarification (Feb. 21, 1995) (“Expressions of opinion cannot support a misrepresentation

    claim.”). A promise as to “future events without a present intent not to fulfill the promise

    is not actionable.” Van Leeuwan v. Nuzzi, 810 F. Supp. 1120, 1124 (D. Colo. 1993)

    (statements that by a doctor that he could help a patient with her illness were simply

    statements of professional opinion and not actionable as a misrepresentation).



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           Here, at most, Mr. Charnoff alleges Defendants misrepresented they would

    perform their contractual promises, but that is not actionable fraud. Hart v. Zaitz, 211 P.

    391, 395 (Colo. 1922); see Friedman v. Dollar Thrifty Auto. Grp., Inc., No. 12-cv-02432,

    2013 WL 5448078, at * (D. Colo. Sept. 27, 2013) (“A misrepresentation is not a breach of

    contract.”) (internal quotations and citation omitted); see also Myklatun v. Flotek Indus.,

    Inc., 734 F.3d 1230, (10th Cir. 2013) (“[T]he proper remedy for breach of contract will be

    found in a breach of contract claim, not in a claim of fraud based on the breaching party’s

    failure to disclose its potential future breach.”); H & H Distributors, Inc. v. BBC Int'l, Inc.,

    812 P.2d 659, 662 (Colo. App. 1990) (“A claim for the tort of fraud cannot be predicated

    upon the mere nonperformance of a promise or contractual obligation or upon the failure

    to fulfill an agreement to do something at a future time.”) (citation omitted).

                      i. Opinion or Statements Regarding Future Events Are Not
                         Actionable As A Matter of Law

           Mr. Charnoff’s alleges Nancy Loving and David Hinkelman made “material

    misrepresentations of past or present fact” that Ms. Loving “would perform coupled with

    a present intent not to perform.” SAC ¶¶ 83-87. In discovery, Mr. Charnoff was asked to

    identify each misrepresentation he claims were fraudulent and to identify the evidence

    supporting his assertion Defendants knew they were “false when made.”                 Plaintiff’s

    Amended Responses to Defendants First Written Discovery at Interrogatory Nos. 1, 2 and

    10 (“Discovery Responses”), attached hereto as Exhibit 23. The alleged representations

    advanced by Mr. Charnoff mirror the alleged contractual promises and evidence no

    present intent not to perform.         Id.   Mr. Charnoff claims Defendants made 18

    misrepresentations, that: (1) the art would be insured, (2) the art would be shipped

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    promptly by a date certain and professionally, (3) the art would be crated, (4) the art would

    be shipped and insured at Artport’s expense, (5) Ms. Loving would work with Edward

    Robinson and others to create a market for the art and increase the value as an

    investment for the second purchase, (6) Ms. Loving would ship the journal, (7) the journal

    would be bound, (8) she improperly imposed new conditions and payments that were not

    part of the original contract, (9) that she would store the art and care for the art yet it was

    damaged in her home or during shipment, (10) that the art was rapidly increasing in value

    due to recent collector, museum and other acquisitions, (11) that Mr. Charnoff was not

    the largest collector of Garde art, (12) that the art would be shipped professionally and

    properly crated and insured until delivery into Colorado, (13) that she improperly stated

    she could hold the art until Plaintiff paid shipping fees, (14) that the art would be “white

    glove” delivery, (15) that the art was museum quality, undamaged, and would be on loan

    to museums, (16) that Edward the curator was going to put it into gallery shows to double

    the price, (17) that there would be custom crates, (18) and the free gifts signed. Id.

           The vast majority of the alleged misrepresentations are promises that make up,

    and are duplicative of, the parties’ contract with no demonstrable evidence of a present

    intent not to perform. See SAC ¶ 25 (art delivery protocol), ¶ 48 (agreement to properly

    store art, promptly ship, museum placement), ¶ 51-56 (deliver journal), ¶ 65 (insurance,

    storage cost, museum placement by Defendants), ¶ 73 (shipping, storage, insurance).

    When asked for evidence that Defendants knew the contractual promises were false

    when made, Mr. Charnoff heavily relies on a single email from Ms. Loving regarding only

    one of the alleged misrepresentations (#15 above), where he claims that she told him the


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    art is “rapidly increasing in value and that it should be purchased immediately while it is

    still available,” Ex. 23 at Interrogatory 1, but the email actually states:

             “As a result of recent museums and private collector acquisitions Harold’s work
             has increased in value and many of the historical pieces and the master works
             now reflect a substantial increase in retail prices in the last year. We firmly believe
             that Garde’s work will continue to appreciate as he will be given further recognition
             for his historical relevance and contributions to the art world. With that said, I have
             the ability for a limited time, due to your earlier interest in the work to create a
             pricing structure that you will find attractive.”


    7/11/2016 email, attached as Exhibit 24.

             Mr. Charnoff asserts that ArtPort’s invoices and tax returns show this email was a

    fraudulent misrepresentation because there were no recent museum and private collector

    acquisitions that could have increased the retail prices , no rush of sales on Garde artwork

    to impact the value of the art and there could be no true ability to market the art given her

    misrepresented sales. Ex. 23 at Interrogatory No. 1. Even if the loans to museums, or

    museum acquisitions, were reflected on invoices or a tax return (and they would not have

    been)3, Ms. Loving’s statement that the retail prices have increased is not a statement

    regarding the value of the art. Tellingly, she couches her opinion as follows: “we firmly

    believe the art will continue to appreciate”, but that is simply an expression of her opinion

    and belief as to future events and not actionable fraud.

             Moreover, alleged misstatements about the value of individual art pieces are

    “‘nonactionable opinion that provide[s] no basis for a fraud claim.” MAFG Art Fund, LLC

    v. Gagosian, 998 N.Y.S.2d 342, 343 (App. Div. 1st Dep’t 2014); Mandarin Trading Ltd. v.



    3   See Ex. 1 ¶ 9.
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    Wildenstein, 944 N.E.2d at1108 (letter representing a certain painting’s value was $15-

    17 million merely a disclosure of a belief and provided no basis for a fraud claim); Rubin

    v. Sabharwal, 171 A.D.3d 580, 581, 99 N.Y.S.3d 17, 19 (2019) (alleged

    misrepresentations that pieces were “museum quality,” “highest quality” and

    “generational” were nonactionable opinion speaking to value).

           In other words, the alleged misrepresentation reflect Ms. Loving’s opinion and

    aspirational belief as to the value, continued appreciation, and recognition surrounding

    Mr. Garde’s artwork, as reflected in her chosen retail prices. See Ex. 24. Like any

    salesperson, she offered a limited-time pricing structure to Mr. Charnoff but her email

    does not state that he must “purchase immediately,” while “still available” and he did not,

    his First Purchase was 22 days after the email. See id.; Facts 5. Thus, Plaintiff’s claim

    must fail.

                      ii. The Alleged Misrepresentations Are Not Material Nor Relied
                          Upon By Charnoff And Are Therefore Not Actionable As A
                          Matter of Law

           “A fact is material if a reasonable person under the circumstances would attach

    importance to it in determining his course of action.” Denberg v. Loretto Heights Coll., 694

    P.2d 375, 377 (Colo. App. 1984); United States v. Ostrom, 80 F. App'x 67, 70 (10th Cir.

    2003) (“A material fact is a fact that would be of importance to a reasonable person in

    making a decision about a particular matter or a particular transaction.”) (citing proffered

    jury instruction with approval). “A party’s reliance on a purported misrepresentation is not

    justified when the party is aware of or on inquiry notice of the falsity of the representation.”

    Rocky Mountain Expl., Inc. v. Davis Graham & Stubbs LLP, 2018 CO 54, ¶ 53, 420 P.3d


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    223, 234; see MAFG Art Fund, LLC v. Gagosian, 123 A.D.3d 458, 459, 998 N.Y.S.2d

    342, 343 (2014) (no reasonable reliance on a statement about the value of art being

    supported by market data because the plaintiffs conducted no due diligence and did not

    ask for the data demonstrating the value of the art). Here, Mr. Charnoff alleges Ms. Loving

    misrepresented the recent sales or acquisitions of the art and her ability to market the art

    in the future to induce him to purchase the art, but he repeatedly testified that he made

    the First Purchase of the art for an entirely different reason. He also testified that he knew

    the true facts surrounding the state of Ms. Loving’s gallery business.

           The First Purchase was comprised of 4 paintings totaling $45,120 and was

    completed on August 2, 2016. SAC ¶ 35. Instead of purchasing the art based on the

    cited email representations, Mr. Charnoff testified that he made the purchase “more out

    of - - any sense of wanting to help [David Hinkelman’s] life partner with her business, was

    more out of a sense of friendship and loyalty than it was out of some obligation.” Ex. 7,

    56:15 - 57:3; 193:7-12 (“Since I spent that money -- which I thought I was doing something

    good for a friend of mine. I thought I was buying something that I could enjoy for the rest

    of my life and think happy thoughts when I looked at it and feel a connection to the artist

    and enjoy.”). The testimony confirms Mr. Charnoff’s motivation in purchasing the art was

    to help his friend and, by extension, his friend’s girlfriend’s struggling art business, not

    any representation as to the increase in sales or value of the art.

           With respect to the Second Purchase of Art, comprising three quarters of Mr.

    Charnoff’s art purchase, Mr. Charnoff again, admits he knew the reality surrounding Ms.

    Loving’s gallery business and the state of the market with respect to Mr. Garde’s art, and


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    therefore could have not have relied upon any statements regarding the success, sales

    or increase in value of the art in making the second purchase. Ex. 7, 253:18- 254:1 (“Q.

    Mr. Charnoff you knew at the time you were purchasing art from Ms. Loving and ArtPort

    that you were helping a struggling business correct.? A. Correct. Q. And at one point in

    time, Ms. Loving referred to your art purchase as throwing her a lifeline, correct? A.

    Correct.”) Indeed, Mr. Charnoff testified that he knew that Ms. Loving was going to use

    his purchase monies “specifically to make a market for the Garde art to get these gallery

    shows off the ground, to pay Edward to do a bunch of things in the promoter’s name and

    do other things.” Id. 254:9-15.

           In addition, Mr. Charnoff, who has started and invested in many companies, see

    id. 25:14-28:23, also admitted that it is a good idea to review capitalization of a company,

    review the company’s revenue, profit trends and margins, and competitors, but did not do

    so with respect to his purchase of art from Defendants, id. 35:17-36:11. He testified that

    “the basis that I have for any value assumptions I made on Garde’s art at the time of the

    purchase is what Nancy stated to me about the value to induce me to purchase the art.”

    Id. 130:20-23. Mr. Charnoff did no due diligence whatsoever and, instead, relied on his

    desire to help his friend and an art business he knew was struggling, making his reliance

    on any alleged misrepresentations unjustifiable as a matter of law. To date, Charnoff

    advances no evidence her statements as to value are incorrect.

           Because there is no genuine issue of material fact on which a reasonable jury

    could find that the alleged representations were material to Mr. Charnoff or that he




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    justifiably relied on the alleged misrepresentations because he had actual knowledge of

    the gallery’s business state, his claim fails as a matter of law.

              b. There Are No Damages                   Associated      With   Any     Alleged
                 Misrepresentations

           To establish a claim for fraudulent misrepresentation, Plaintiff must prove the

    existence of damages. See Inst. for Prof'l Dev. v. Regis Coll., 536 F. Supp. 632, 633 (D.

    Colo. 1982); Clark v. Morgan Cty. Nat. Bank of Fort Morgan, 196 F. 709, 712 (D. Colo.

    1912) (“[F]raud without damage or damage without fraud will not sustain the action for

    deceit.”) (citations omitted). The defrauded party “is entitled to recover as damages in an

    action of deceit against the maker the pecuniary loss of him of which the

    misrepresentation is a legal cause, including … the difference between the value of what

    he has received in the transaction and its purchase price or other value given for it.”

    Restatement (Second) of Torts § 549 (1977). “The value of the article is normally

    determined by the price at which it could be resold in an open market or by private sale if

    its quality or other characteristics that affect its value were known.” Id. cmt on § (1)(a).

    “[D]amages based on mere speculation and conjecture are not allowed.” Roberts v.

    Adams, 47 P.3d 690, 696-97 (Colo. App. 2001) (citing Sonoco Prods. Co. v. Johnson, 23

    P.3d 1287 (Colo. App. 2001)); see Sedoy v. Provine, No. 15-CV-02168-RBJ, 2017 WL

    744024, at *6, n. 1 (D. Colo. Feb. 27, 2017) (in a negligent misrepresentation case, noting

    that the “value of what the plaintiff received” necessarily required evidence of what

    someone in the relevant market would attach to the property in question). A party must

    submit “substantial evidence, which together with reasonable inferences to be drawn

    therefrom, provides a basis for computation of the damage.” Graphic Directs, Inc. v. Bush,

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    862 P.2d 1020, 1024 (Colo. App. 1993) (citation omitted). “Substantial evidence [of

    damages] is that which is probative, credible, and competent.” Roberts, 47 P.3d at 696-

    67.; see Bennet v. Price, 692 P.2d 1138, 1140 (Colo. App. 2001).

           Here, Mr. Charnoff’s original three complaints seek economic damages of “no less

    than $440,000” based on Defendants failure to deliver the art he purchased and contain

    no allegations of damage to the art. SAC at “Prayer for Relief” p. 23; see generally

    Complaint (DOC 5), Amended Complaint (DOC 9), and SAC (DOC. 64).4 After litigation

    commenced, Defendants shipped the art but Mr. Charnoff refused to accept it. Ex. 7,

    235:10-15. Now, although he has never seen the art since he purchased it, id. at 276:5-

    9, he claims for the first time that the art has been damaged and has zero value to him

    because of the “drama” involved in getting the art, id. at 193:6-23 (testifying he paid

    $186,000 because he thought he was “doing something good for a friend” and was

    “buying something that [he] could enjoy for the rest of [his] life and think happy thoughts

    when I looked at it and feel a connection to the artist and enjoy” but now “the emotional

    connection I had to it, the feeling that I got thinking about the art is all being destroyed by

    Ms. Loving because of all the drama, hardship and even money I had to spend to even

    get her to perform her side of the deal.”).

           Mr. Charnoff testified that he “solicited the advice of an expert as to whether the

    paintings are “less – worth less” but —tellingly— he has not endorsed any expert who will

    so opine at trial. Id. 82: 11-12. And the expert he did endorse will render no such opinion.


    4 Charnoff oddly details damage to Two Vessels but that painting is not the subject of
    this lawsuit nor was it part of his ultimate purchase from Defendants. Ex. 7, 173: 8-12 (“I
    do not own Two Vessels.”)
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    See Ex. 25 (Bradley Dep.) 36:12-14 (Q: “And you have no opinion regarding the value of

    any of the art you viewed, right?” A: “Correct.”). Thus, Mr. Charnoff chose not to have an

    expert or anyone else who will corroborate his personal feeling that the art, which he has

    not seen since it arrived in Colorado, has decreased in value. In essence, Mr. Charnoff’s

    statement that the art has no value is purely emotional and subjective. Ex. 7, 218:25-

    219:1-5 (the art was “…something that was supposed to bring me long-term joy, draw me

    close to the artist, and be a sense of happiness and enjoyment, and hopefully increase

    value over time and it’s turned into aggravation, heartache, and additional expense.”); 83:

    1-7 (“it used to be pleasing to me to look at that journal and I planned on keeping that

    journal as something of esthetics, sentimental, and art value where I would get enjoyment

    looking at the piece, and now every time I see the journal all I'm going to think about is

    how Nancy destroyed it”); 193:18-23 (“So already the enjoyment of the art, the emotional

    connection I had to it, the feeling that I got thinking about the artist who painted it, it's all

    been destroyed by Ms. Loving because of all the drama, hardship, and money I had to

    spend to even get her to perform her side of the deal.”).

           Stated differently, Charnoff admits that the art has value, but the purchase

    experience left a bad taste in his mouth and, as a result, the art’s value – to him alone –

    is zero. When asked what the value of the art he purchased is worth today he stated:

    “To me, nothing. To the rest of the world, I don’t know.” Id. at 218:1-7 (emphasis added);

    id. at 220:25 – 221:2 (testifying that the art is worth zero dollars today, “To me.”)

    (emphasis added). Id. at 82: 5-6 (“to me, the value is zero [of the journal] unbound versus

    what I paid for it bound.”). But a plaintiff’s own personal feeling for the purposes of a


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    reasonable basis for a damages calculation is not the basis for establishing the existence

    of non-speculative, actual damages. Personal opinion of value does not constitute a

    reasonable basis for measuring value of goods and personal property. See, e.g.,

    Champion Home Builders v. Shumate, 388 F.2d 806, 810 (10th Cir. 1967) (damages to

    be considered when property cannot be restored to original condition is “the difference in

    the fair and reasonable market value of [the property] immediately prior to the time of said

    injury and its fair market value immediately after such injury”) (internal quotations and

    citation omitted); Mackey v. Monahan, 56 P. 680, 680 (Colo. App. 1899) (finding the

    damages evidence insufficient to establish the damages verdict where the only evidence

    of damages introduced was one witness who testified as to the value of the property, and

    noting that “the fact to be ascertained was what the [property] was worth on the market

    … or … what the value was; and not what it might be worth to some particular individual”).

    A jilted purchaser’s personal theory as to the value is insufficient as a determination of

    actual loss. See Olsen v. Ry. Exp. Agency, Inc., 295 F.2d 358, 359-60 (10th Cir. 1961)

    (noting that although the purchaser “simply [did] not want the object in the condition after

    transit” the “rule is not absolute that where no market value exists at point of destination

    the intrinsic value to the owner is the limit of inquiry into actual loss. Reference can and

    should be made to the nearest advantageous market.”) (citing V Williston on Contracts,

    § 1378, p. 3850);See Frontrage Sols. USA, Inc. v. Newroad Software, Inc., 505 F. Supp.

    2d 821, 835 (D. Colo. 2007) (dismissing trademark claim because damages were

    “speculative and unfounded” because damages were based on “a number he felt was

    appropriate for these damages claims”); see Pomeranz v. McDonald, 843 P.2d 1378


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    (Colo. 1993) (on reviewing whether sufficient evidence was presented to provide a

    “reasonable basis” for a future damages calculation, the damages evidence was

    insufficient where there “no evidence was before the court on what the actual [future

    damages] costs were”).

           Conversely, when asked if he could tell the jury whether the art had in fact

    increased in value since the time he purchased it, he only provided that it “decreased in

    value to me…What else matters?” Ex. 7, 216: 5-14. He testified that the difference in

    value between what he purchased and what he received – the usual measure of damages

    – is “irrelevant”. Id. at 187:14-17. Although he has no evidence regarding the difference

    in value between receiving signed and unsigned art, it is “completely less valuable to me

    and I am the one who is paying … It does not matter whether that art is worth more or

    less money to somebody else.” Id. at 189: 8-15; 190:5-6. He testified that he does not

    “need an expert to tell me that those paintings are valueless to me unbound.” Id. at 82:

    17-20. In other words, the art could have tripled in value but Charnoff is asking the jury

    to disregard its actual value, in favor of his buyer’s remorse.

           In the end, Mr. Charnoff has not advanced a scintilla of evidence as to what the

    value of the paintings would be worth but-for Defendants’ alleged misrepresentations or,

    stated differently, the value of the art as represented versus the actual present value a

    buyer would pay or an appraiser appraise.5 He has further failed to present any evidence

    regarding the damages from Defendants (alleged) failure to market, promote or increase



    5Plaintiff admits in his Complaint that art has some sort of ascertainable value, “like real
    estate” based on extrinsic factors. See SAC ¶ 61.
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    the value of the art. Because he consulted an expert regarding value and he does not

    dispute that there could be an increase in value, any damages are imaginary. As a result,

    Mr. Charnoff’s claim fails as a matter of law.


    III.   Defendants Are Entitled To Judgment As a Matter of Law on Plaintiff’s
           Breach of Contract Claim

           “To establish a breach of contract, a plaintiff must prove: “(i) the existence of a

    binding agreement; (ii) the plaintiff’s performance of its obligations; (iii) the defendant’s

    failure to perform its obligations; and (iv) resulting damages.” Xtreme Coil Drilling Corp.

    v. Encana Oil & Gas (USA), Inc., 958 F. Supp. 2d 1238, 1243 (D. Colo. 2013) (citing W.

    Distrib. Co. v. Diodosio, 841 P.2d 1053, 1058 (Colo. 1992)).

              a. Defendants Shipped the Art Plaintiff Purchased

           To establish an actionable breach, Plaintiff must prove that Defendants failed to

    perform their obligations under their contract. Id. The gravamen of Mr. Charnoff’s breach

    of contract claim is that Defendants allegedly refused to ship the art he purchased,

    whereas Defendants claim Mr. Charnoff refused to accept shipment of the art. See

    generally SAC. The art Mr. Charnoff purchased was the art itemized in the First Purchase

    , Ex. 27 (PLAINTIFFS 129-30) at 130, and his email to Ms. Loving regarding his Second

    Purchase, Ex. 29 (LOVING 28-43) at 28. The titles of free gifts, “help” with obtaining

    Garde’s signatures and certificates of authenticity were not specifically itemized on either

    purchase contract. See id. Years later, Mr. Charnoff insisted these terms were contractual

    but —closely viewed— each email and text from Mr. Charnoff regarding these art terms

    is well after the agreement was reached and he paid for the art.               After litigation


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    commenced, Defendants shipped Mr. Charnoff the art he selected but he refused to

    accept it. See SAC ¶ 50 (art was recently “shipped to Plaintiff without his consent and in

    an effort to force a “settlement” on him…”) After that point in time, Mr. Charnoff began

    to claim that his breach of contract claim is based on alleged damage to the art (that he

    has not seen) and missing art pieces. Specifically, he claims: (1) a different painting was

    sent in place of the “Red Chair” painting he purchased, (2) journal paintings were removed

    from his purchase and placed online for sale; (3) the art he purchased is damaged, and

    (4) a few pieces of art unsigned. SAC ¶¶ 43-47, 54-57, 60, 64-65, 79-80. Mr. Charnoff

    has no evidence to support his allegations and, therefore, his breach of contract claim

    must be dismissed.

          Red Chair. Mr. Charnoff claims that the painting titled “Red Chair” was switched

    yet he has produced no evidence to support his allegation. While he claimed he has a

    “photo of [the true] red chair” painting that he purchased “on [his] old phone” and that he

    would send it to Ms. Loving he has produced no such evidence in this litigation. See text

    exchange from Mr. Charnoff to Ms. Loving, attached hereto as Exhibit 26 (PLAINTIFFS

    274-275). Mr. Charnoff admits he cannot identify anyone with more knowledge about

    Harold Garde art than Ms. Loving, Ex. 7, 45:17-46:18, and she testified that there was

    only one Red Chair 1979 painting that Harold Garde painted and that she had ever seen

    or shown to Mr. Charnoff, and that is the Red Chair painting sold to and shipped to Mr.

    Charnoff. Ex. 1, ¶ 4.

          Missing Art. Mr. Charnoff was asked to identify the paintings he believes were

    removed from the journal he purchased and allegedly sold online. See Ex. 23 (Discovery


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    Responses) at Interrogatory 7. Mr. Charnoff affirmed in discovery that he had and would

    produce screenshots of his journal paintings that were allegedly for sale online but he has

    produced no such evidence. Id. Mr. Charnoff was asked to identify the art that he

    purchased but did not receive and, instead, he cited to certificates of authenticity, a bill of

    sale, and missing free gifts. Id. at Interrogatory 8. To begin, these certificates, bill of sale,

    and missing “gifts” were not specifically identified on the purchase contract. However,

    certificates of authenticity cannot be provided to a buyer until the art is in possession of

    the buyer. Ex. 1, ¶ 5. Mr. Charnoff refused to accept shipment of the art, but Ms. Loving

    will provide a Bill of Sale when Mr. Charnoff accepts delivery of the art. Id. ¶ 6. Each of

    the journal paintings have all been delivered as well as the gifts she provided free of

    charge. Id. ¶ 7. Finally, Loving will “help” obtain the signatures requested. Id. ¶ 8. Mr.

    Charnoff has no evidence to prove he did not receive each item in the parties’ contract

    and instead Defendants predict he will rely solely on post-contractual emails, well after

    payment had been made and the agreement reached, wherein he dictates new terms that

    contradict the parties’ pre-contractual and contractual promises.

           Damage to Art. Finally, the art is not damaged and Mr. Charnoff cannot show any

    imperfections noted by his expert occurred after he saw and selected the art. First, Mr.

    Charnoff’s expert will testify that each of the 84 pieces of art he purchased is in “stable

    condition” which means that the art is “the best that can be said” regarding the condition

    of an artwork. Ex. 25 (Bradley Dep.) 37:13-16 (Q: “And it’s your opinion that every single

    piece of artwork that you reviewed for Mr. Charnoff is in stable condition, correct? A:

    “Yes.”); Ex. 30 (Museum Level Condition Reporting) at Rule 1. While the art has


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    accretions, abrasions, chips, cracks and other imperfections, Mr. Charnoff’s expert will

    not opine that any of the art was damaged while under Ms. Loving’s care, custody or

    control. Ex. 25, 36:7-11 (Q: “And you can’t tell the jury that any abrasion, loss, rub,

    accretion was done to the art by Nancy Loving while in her care, custody, or control,

    correct?” A: “Yes.”). Mr. Charnoff claims that he can show the art was damaged under

    her control because Ms. Loving sent him a portfolio of the (four pieces of) art in the First

    Purchase, and stated it was in “pristine” “perfect” and “damageless” condition, and that

    he has “several emails from Nancy” using those words. Ex. 7, 207:8-22. Watch closely,

    Mr. Charnoff has produced zero such emails or texts from her using those exact terms.

    Moreover, Mr. Charnoff saw each piece of art in person that he purchased and it is in the

    same condition as when he saw it and selected it. Ex. 1 ¶ 3, 10.

           Because the Defendants performed the essential terms of the contract, there is no

    issue of triable fact concerning whether the Defendants were in breach, and Plaintiff’s

    breach claim must fail.

              b. Plaintiff Has No Damages

           To establish a breach of contract claim, Plaintiff must prove damages. See Xtreme

    Coil Drilling Corp., 958 F. Supp. 2d at 1243; Williams v. Am. Family Mut. Ins. Co., S.I.,

    No. 18-CV-00621-CMA-NRN, 2019 WL 2502207, at *3 (D. Colo. June 17, 2019) (plaintiff

    must prove the damages he is legally entitled to recover from defendant); see Joplin v.

    Sw. Bell Tel. Co., 753 F2d 808, 809 (10th Cir. 1983) (“Since plaintiff would have no

    damages for breach of contract, defendant was entitled to summary judgment.”); See,




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    supra, Sec. II.b at pp. 17-22 and cases cited re: “substantial evidence” and “reasonable

    basis” standard for damages calculations.

           Here, Plaintiff has pled economic damages exceeding $440,000, SAC p. 23, ¶ 2 ,

    while oddly and simultaneously claiming the art has “no value.” supra at pp. 19. Thus,

    Charnoff at times is de facto seeking a rescission (i.e., a full refund irrespective of the

    actual value of property conferred pursuant to the contract) but he advances no evidence

    of a “substantial breach,” as is required to assert a rescissionary remedy,6 and therefore

    Mr. Charnoff’s claim must be for damages. And, his testimony that the art now has “no

    value to him” is not evidence sufficient to create a triable issue of genuine material fact

    that the art is in fact worth nothing entitling Mr. Charnoff to rescission.



           6   “[R]escission may [only] be granted if the facts show that there is a substantial
    breach, that the injury caused is irreparable, or that damages would be inadequate,
    difficult, or impossible to assess.” Wall v. Foster Petroleum Corp., 791 P.2d 1148, 1150
    (Colo. App. 1986) (citation and internal quotations omitted). “[Rescission] is not a proper
    remedy for a mere variance from the terms of the contract.” Kole v. Parker Yale Dev. Co.,
    536 P.2d 848, 850 (Colo. App. 1975).

    Here, Mr. Charnoff has alleged that despite being shipped the art he contracted to
    purchase, he has decided the art no longer as any “value” to him (and him alone), supra
    pp 19-20, and that somehow constitutes a justification for unwinding the entire contract.
    Ex. 7, 191:20-192:1 (Q: “Well, how does the jury award you damages for your unsigned
    artwork, Mr. Charnoff”” A: “If you buy something and you can’t get it in the form you
    purchased it in, a refund should be given.”). This is not the type of evidence that could
    support a finding of substantial breach. Cf. Tromp v. Martinez, 719 P.2d 380, 381 (Colo.
    App. 1986) (substantial breach found where the facts established one party’s total failure
    to perform for five years); Cooper v. Peoples Bank & Tr. Co., 725 P.2d 78, 80 (Colo. App.
    1986) (total breach found where full purchase price paid and nothing received); Rudd
    Paint & Varnish Co. v. White, 403 F.2d 289, 291 (10th Cir. 1968) (finding evidence of
    substantial breach where the products shipped were clearly not marketable and would be
    discontinued). Rescission fails because the art is marketable and has value.


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             Mr. Charnoff’s damages claim is deficient for the reasons stated in Sec. II.b, supra.

    “The party seeking to recover damages has the burden of presenting competent evidence

    which furnishes a reasonable basis for assessing them.” Bennett v. Price, 692 P.2d 1138,

    1140 (Colo. App. 1984) (citing Colo. Nat’l Bank v. Ashcraft, 263 P. 23 (Colo. 1927));

    Realty Loans, Inc. v. McCoy, 523 P.2d 476, 478 (Colo. App. 1974) (noting that it “was

    necessary to determine the market value of the property” in order to “calculate properly

    the amount of damages suffered by plaintiff” and that if plaintiff failed to sustain its burden

    of proof with respect to damages, “it is not entitled to recovery”). Here, as set forth above,

    has no damages because the only evidence put forth by Mr. Charnoff as to his damages

    is his own feeling that the art has no value despite consulting with an expert on the

    subject. Thus, his damages claim is barred because the jury has no tools with which to

    award damages.

    IV.     Plaintiff’s Related Claims Fail as a Matter of Law.

            Finally, because Plaintiff’s breach of contract claim fails, each of his claims flowing

    from the alleged breaches also fail. See supra, II.a.i. Thus, his Second Claim (Unjust

    Enrichment) SAC ¶¶ 76-82, Fifth Claim (Conversion) SAC ¶¶ 91-95, Sixth Claim

    (Vicarious Liability under Respondeat Superior) ¶¶ 91-94, Seventh Claim (Joint Venture

    liability) SAC ¶¶ 95-99, Eighth Claim (Vicarious Liability under Actual and Implied

    Authority) SAC ¶¶ 100-105; Ninth Claim (Vicarious Liability under Apparent Authority)

    SAC ¶¶ 106-109; and Eleventh Claim (Intentional Interference with Contractual Relations)

    SAC ¶¶ 114-119. These claims, premised on the same underlying breaches, must

    similarly fail.


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                                       CONCLUSION

          For the reasons set forth herein, Defendants motion for summary judgment should
    be granted.


    Dated: October 19, 2020.

                                           Shoemaker Ghiselli + Schwartz LLC


                                           /s/ Liza Getches
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                                 CERTIFICATE OF SERVICE

           I hereby certify that on this 19 of October, 2020 a true and accurate copy of the
    foregoing DEFENDANTS NANCY LOVING, d/b/a ARTSUITE NY, ARTPORT LLC,
    STUDIO 41, LLC AND DAVID HINKELMAN’S ANSWER MOTION FOR SUMMARY
    JUDGMENT was filed and served via ECF on the following:

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                                            s/ Vanya P. Akraboff




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